                   Case 19-11466-MFW   Doc 2086-2   Filed 02/11/21   Page 1 of 15




                                       EXHIBIT 2


                                        Redline Order




38045388.3   02/11/2021
             Case 19-11466-MFW                Doc 2086-2         Filed 02/11/21         Page 2 of 15




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                        )
In re:                                  )                         Chapter 11
                                        )
CENTER CITY HEALTHCARE, LLC d/b/a       )                         Case No. 19-11466 (MFW)
HAHNEMANN UNIVERSITY HOSPITAL, et al., )
                                      1

                                        )
                    Debtors.            )                         Jointly Administered
                                        )
                                        )                         Related to Docket Nos. 2045 and ____


    ORDER SUSTAINING DEBTORS’ FOURTH OMNIBUS OBJECTION TO CLAIMS
  (SUBSTANTIVE) PURSUANT TO SECTIONS 502(b) AND 503 OF THE BANKRUPTCY
     CODE, BANKRUPTCY RULES 3001, 3003, AND 3007, AND LOCAL RULE 3007-1

         Upon consideration of the Debtors’ Fourth Omnibus Objection to Claims (Substantive)

  Pursuant to Sections 502(b) and 503 of the Bankruptcy Code, Bankruptcy Rules 3001, 3003, and

  3007, and Local Rule 3007-1 (the “Objection”),2 by which the Debtors request the entry of an

  order pursuant to sections 502(b) and 503 of the Bankruptcy Code, Bankruptcy Rules 3001, 3003,

  and 3007, and Local Rule 3007-1, disallowing the No Liability Claims set forth on Exhibit A

  attached hereto and modifying the Misclassified Claims, the Modified Amount and Classification

  Claims and the Modified Amount Claims set forth on Exhibits B, C and D attached hereto; and

  upon consideration of the Wilen Declaration; and it appearing that the Court has jurisdiction over

  this matter pursuant to 28 U.S.C. §§ 157 and 1334; and due and adequate notice of the Objection

  having been given under the circumstances; and sufficient cause appearing therefor,


  1      The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
         are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
         Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA,
         L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center,
         L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics,
         L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS
         IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is 216 North Broad
         Street, 4th Floor, Philadelphia, Pennsylvania 19102.
  2      Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Objection.
                   Case 19-11466-MFW           Doc 2086-2      Filed 02/11/21    Page 3 of 15




             IT IS HEREBY ORDERED THAT:

             1.         The Objection is sustained as set forth herein.

             2.         The No Liability Claims set forth on the attached Exhibit A under the heading

“Claim No.” are hereby disallowed in their entirety.

             3.         The Misclassified Claims are modified to reflect the correct priority status of the

claims (or portions of the claims) as reflected under the heading “Modified Priority Status” on the

attached Exhibit B.

             4.         The Modified Amount and Classification Claims are modified to reflect the correct

priority status of the claims (or portions of the claims) and the correct amount as reflected under

the heading “Modified Claim Amount ($) and Priority Status” on the attached Exhibit C.

             5.         The Modified Amount Claims are modified to reflect the correct amount as

reflected under the heading “Modified Claim Amount ($)” on the attached Exhibit D.

             6.         The Claims Agent is authorized and directed to modify the Claims Register for

these Chapter 11 Cases in accordance with the terms of this Order.

             7.         To the extent that a response is filed regarding any Disputed Claim listed in the

Objection and the Debtors are unable to resolve the response, each such Disputed Claim, and the

Objection by the Debtors to each such Disputed Claim, shall constitute a separate contested matter

as contemplated by Bankruptcy Rule 9014.

             8.         Any order entered by the Court regarding the Objection shall be deemed a separate

order with respect to each Disputed Claim.

             9.         This Order is without prejudice to the rights of the Debtors and any successor

entities to: (a) object to any Claims on grounds other than as stated in the Objection if any such




                                                          2
37969688.5 02/05/2021
37969688.6 02/11/2021
                   Case 19-11466-MFW          Doc 2086-2      Filed 02/11/21    Page 4 of 15




Claim is reconsidered; and (b) object, on any grounds permitted by law or equity, to any claim,

whether filed or not, in these cases.

             10.        The rights of the Debtors and any successor entities to use any available defenses

under section 502 of the Bankruptcy Code, including the assertion of a preference action to set off

against or otherwise reduce all or part of any Claim, are preserved.

             11.        Any stay of this Order pending appeal by any claimant shall only apply to the

contested matter that involves the claimant’s specific claim and shall not stay the applicability

and/or finality of this Order with respect to all other affected claims.

             12.        To the extent that the Objection does not comply in all respects with the

requirements of Local Rule 3007-1, the requirements of Local Rule 3007-1 are waived.

             13.        The Court shall retain jurisdiction over all affected parties with respect to any

matters, claims or rights arising from or related to the implementation and interpretation of

this Order.




                                                        3
37969688.5 02/05/2021
37969688.6 02/11/2021
Case 19-11466-MFW   Doc 2086-2   Filed 02/11/21   Page 5 of 15




                        Exhibit A



                    No Liability Claims
                                                Case 19-11466-MFW             Doc 2086-2         Filed 02/11/21     Page 6 of 15




                                                                                  No Liability Claims
                                  Debtor                                               Filed Claim Amount ($)
                                  Against
                        Claim
    Creditor Name                 Whom
                         No.                      Priority        Secured           503(b)(9)     Admin.        Unsecured          Total          Reason for Disallowance
                                  Claim is
                                   Filed
                                                                                                                                            The asserted claim is not reflected in
                                                                                                                                            the Debtors' books and records and no
                                Center City                                                                                                 documentation in support of the claim
1     Childs, Michael    928    Healthcare,      $1,500.00    $1,000,000,000.00         -            -               -         $1,500.00    has been provided. Claim is also
                                   LLC                                                                                                      subject to further objection on other
                                                                                                                                            grounds (see Exhibit C (Modified
                                                                                                                                            Amount and Classification Claims)).
                                     St.                                                                                                    The asserted claim is not reflected in
                                Christopher’s                                                                                               the Debtors' books and records and no
2     Nguzen, Francis    247                     $5,000.00            -             $5,000.00                        -         $5,000.00
                                 Healthcare,                                                                                                documentation in support of the claim
                                    LLC                                                                                                     has been provided.
                                                                                                                                            The asserted claim was satisfied in
                                                                                                                                            connection with the assumption of the
         Perinatal              Center City
                                                                                                                                            Perinatal Cardiology Services
3       Cardiology       27     Healthcare,      $10,900.85           -             $7,204.04        -               -         $10,900.85
                                                                                                                                            Agreement through the payment of the
        Consultants                LLC
                                                                                                                                            cure amount of $10,900.85 on
                                                                                                                                            12/16/2020.
                                                                                                                                            Claimant's claim was satisfied upon
                                                                                                                                            the assumption and assignment of the
                                                                                                                                            Agreement for Eligibility Verification
                                Philadelphia
                                                                                                                                            and Revenue Cycle Services to STC
        RealMed                  Academic
4                        11                          -                -            $13,534.10        -          $108,281.92   $121,816.02   OpCo, LLC with a $0.00 cure amount,
       Corporation                 Health
                                                                                                                                            as reflected in Docket No. 1219.
                                System, LLC
                                                                                                                                            Claim is also subject to further
                                                                                                                                            objection on other grounds (see
                                                                                                                                            Exhibit B (misclassified)).
                                                                                                                                            Claimant's claim was satisfied upon
                                Philadelphia                                                                                                the assumption and assignment of the
       Rydal Square,             Academic                                                                                                   lease agreement to STC OpCo, LLC
5                         2                          -                -                 -        $30,781.08     $37,562.35     $68,343.43
           L.P.                    Health                                                                                                   with a $8,117.41 cure amount, as
                                System, LLC                                                                                                 reflected in Docket No. 1219, which
                                                                                                                                            amount was paid on 12/16/2020.
                                                                                                                                            Claimant's claim was satisfied upon
                                     St.                                                                                                    the assumption and assignment of the
       Rydal Square,            Christopher's                                                                                               lease agreement to STC OpCo, LLC
6                         4                          -                -                 -        $30,781.08     $37,562.35     $68,343.43
           L.P.                  Healthcare,                                                                                                with a $8,117.41 cure amount, as
                                    LLC                                                                                                     reflected in Docket No. 1219, which
                                                                                                                                            amount was paid on 12/16/2020.
                                                  Case 19-11466-MFW   Doc 2086-2   Filed 02/11/21   Page 7 of 15


                                                                                                                            The claim does not assert any liability.
                                   Philadelphia
                                                                                                                            The Debtors' books and records do not
                                    Academic
  7      Sloan, Germaine     96                      -         -           -          -              -             $0.00    reflect a claim for this claimant. No
                                      Health
                                                                                                                            documentation in support of the claim
                                   System, LLC
                                                                                                                            has been provided.
                                   Philadelphia
                                                                                                                            Debtor does not have any further
                                    Academic
  8        Stericycle, Inc   67                      -         -           -          -         $264,042.70   $264,042.70   liability to claimant pursuant to court
                                      Health
                                                                                                                            approved stipulation at D.I. 1656.
                                   System, LLC
                                   Center City                                                                              Debtor does not have any further
  9        Stericycle, Inc   311   Healthcare,       -         -           -          -          $7,000.60     $7,000.60    liability to claimant pursuant to court
                                      LLC                                                                                   approved stipulation at D.I. 1656.




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37969688.5 02/05/2021
37969688.6 02/11/2021
Case 19-11466-MFW   Doc 2086-2    Filed 02/11/21   Page 8 of 15




                         Exhibit B



                    Misclassified Claims
                                                    Case 19-11466-MFW                      Doc 2086-2              Filed 02/11/21          Page 9 of 15




                                                                                           Misclassified Claims
                                                              Filed Claim Amount ($) and Priority Status                                Modified Priority Status
                                Debtor against
    Creditor
                    Claim No.   Whom Claim                                                                                                                                              Reason for Modification
     Name                                         Priority      Secured     503(b)(9)    Unsecured         Total      Priority   Secured    503(b)(9)    Unsecured      Total
                                   is Filed

                                                                                                                                                                                    Claimant’s support for section
                                      St.                                                                                                                                           507(a)(2) priority claim is based
      Bacterin                                                                                                                                                                      on its section 503(b)(9) claim.
                                 Christopher's
1   International     675
                                  Healthcare,
                                                 $20,560.00         -      $20,560.00    $6,120.00     $47,240.00        -          -      $20,560.00     $26,680     $47,240.00    Claimant is not entitled to two
         Inc                                                                                                                                                                        separate priority statuses for the
                                     LLC
                                                                                                                                                                                    same claim.
                                                                                                                                                                                    Claimant is not entitled to assert
                                                                                                                                                                                    a priority wage claim under
                                 Philadelphia                                                                                                                                       section 507(a)(4). Claim is for
     Holland
                                  Academic                                                                                                                                          fees allegedly owed under
2     Square          114
                                Health System,
                                                 $13,650.00         -                   $518,298.30    $531,948.30       -          -           -       $531,948.30   $531,948.30
                                                                                                                                                                                    services agreement, under which
    Group, LLC
                                     LLC                                                                                                                                            the claimant is responsible for
                                                                                                                                                                                    paying wages to its employees,
                                                                                                                                                                                    not the Debtors.
                                                                                                                                                                                    Not entitled to an administrative
                                                                                                                                                                                    claim under section 503(b)(9)
                                 Philadelphia
                                                                                                                                                                                    because claim is based on
     RealMed                      Academic
3
    Corporation
                       11
                                Health System,
                                                     -              -      $13,534.10   $108,281.92    $121,816.02       -          -           -       $121,816.02   $121,816.02   services. Claim is subject to
                                                                                                                                                                                    further objection on other
                                     LLC
                                                                                                                                                                                    grounds (see Exhibit A (no
                                                                                                                                                                                    liability)).
Case 19-11466-MFW   Doc 2086-2    Filed 02/11/21   Page 10 of 15




                         Exhibit C



          Modified Amount and Classification Claims
                                            Case 19-11466-MFW                  Doc 2086-2         Filed 02/11/21             Page 11 of 15




                                                             Modified Amount and Classification Claims
                                                         Filed Claim Amount ($) and Priority Status                       Modified Claim Amount ($) and Priority Status
                          Debtor against
                  Claim
Creditor Name             Whom Claim is                                 503(b)(   Admi     Unsecu                Priori      Secur   503(b)    Admin     Unsecur                  Reason for
                   No.                        Priority     Secured                                     Total                                                          Total
                              Filed                                       9)       n.       red                    ty         ed       (9)       .         ed                     Modification

                                                                                                                                                                               Not entitled to
                                                                                                                                                                               section 503(b)(9)
                                                                                                                                                                               status since no
                                                                                                                                                                               evidence that goods
                                                                                                                                                                               were received
                                                                                                                                                                               within the 20-day
                                                                                                                                                                               period before the
     Cardinal                                                                                                                                                                  Petition Date.
                            Center City       $36,838                   $36,838            $32,639    $111,463                                           $106,315   $106,315
1   Health 414,    887                                    $5,148.53                  -                             -           -        -         -                            Debtors’ books and
                          Healthcare, LLC       .19                       .19                .08         .99                                                .46        .46
      LLC                                                                                                                                                                      records do not
                                                                                                                                                                               support any other
                                                                                                                                                                               priority status. As
                                                                                                                                                                               agreed with
                                                                                                                                                                               claimant, total
                                                                                                                                                                               claim amount is
                                                                                                                                                                               reduced by secured
                                                                                                                                                                               claim amount.
                                                                                                                                                                               Debtors' books and
                                                                                                                                                                               records do not
                                                                                                                                                                               support a secured
                                                                                                                                                                               claim or a priority
     Childs,                Center City       $1,500.    $1,000,000,0                                 $1,500.0                                           $1,500.0   $1,500.0   claim. Claim is also
2                  928                                                     -         -        -                    -           -        -         -
     Michael              Healthcare, LLC       00          00.00                                        0                                                  0          0       subject to further
                                                                                                                                                                               objection on other
                                                                                                                                                                               grounds (see
                                                                                                                                                                               Exhibit A (no
                                                                                                                                                                               liability)).
                                                Case 19-11466-MFW       Doc 2086-2    Filed 02/11/21     Page 12 of 15

  3      Harvard        15      Philadelphia      $13,650   -       -       -   $54,376   $68,026.   -    -    -         -    $4,859.0   $4,859.0   Not entitled to
        Cardiovasc            Academic Health       .00                           .00       00                                   0          0       priority wage claim
         ular, Inc             System, LLC                                                                                                          under section
                                                                                                                                                    507(a)(4). Claim is
                                                                                                                                                    for fees allegedly
                                                                                                                                                    owed under
                                                                                                                                                    services agreement
                                                                                                                                                    under which
                                                                                                                                                    claimant provided
                                                                                                                                                    on-call physicians
                                                                                                                                                    for the Debtors in
                                                                                                                                                    exchange for a fee.
                                                                                                                                                    Per the agreement,
                                                                                                                                                    the claimant is
                                                                                                                                                    solely responsible
                                                                                                                                                    for compensating
                                                                                                                                                    the physicians,
                                                                                                                                                    which are not
                                                                                                                                                    considered
                                                                                                                                                    employees of the
                                                                                                                                                    Debtors.
                                                                                                                                                    Claim amount also
                                                                                                                                                    reduced based on
                                                                                                                                                    Debtors' books and
                                                                                                                                                    records.
  4      Radiation      125     Center City       $13,650   -   $2,500.     -   $6,350.   $22,500.   -    -    -    $2,500.   $15,000.   $17,500.   Not entitled to
        Oncologists           Healthcare, LLC       .00           00              00        00                        00        00         00       section 503(b)(9)
           , PA                                                                                                                                     since claim is
                                                                                                                                                    based on services,
                                                                                                                                                    not goods.

                                                                                                                                                    Not entitled to
                                                                                                                                                    priority wage claim
                                                                                                                                                    under section
                                                                                                                                                    507(a)(4). Claim is
                                                                                                                                                    for fees allegedly
                                                                                                                                                    owed under
                                                                                                                                                    services agreement
                                                                                                                                                    under which
                                                                                                                                                    claimant provided a
                                                                                                                                                    program director in
                                                                                                                                                    exchange for a fee.
                                                                                                                                                    Per the agreement,
                                                                                                                                                    the claimant is
                                                                                                                                                    solely responsible
                                                                                                                                                    for compensating
                                                                                                                                                    the program
                                                                                                                                                    director, not the
                                                                                                                                                    Debtors.

                                                                                                                                                    Total claim amount
                                                                                                                                                    is further reduced
                                                                                                                                                    based on Debtors'

                                                                                2
37969688.5 02/05/2021
37969688.6 02/11/2021
                                                Case 19-11466-MFW   Doc 2086-2        Filed 02/11/21   Page 13 of 15

                                                                                                                                                 books and records.
                                                                                                                                                 Claim is not
                                                                                                                                                 entitled to section
                                                                                                                                                 503(b)(9) status
                                                                                                                                                 since there is no
                                                                                                                                                 evidence that goods
           Sun                                                                                                                                   were received by
  5      Nuclear                Center City                     $13,463                 $13,463.                           $1,211.0   $1,211.0   the Debtors within
                        650                         -      -              -       -                -    -    -         -
  3     Corporatio            Healthcare, LLC                     .00                     00                                  0          0       the 20-day period
            n                                                                                                                                    before the Petition
                                                                                                                                                 Date. Claim
                                                                                                                                                 amount also
                                                                                                                                                 reduced based on
                                                                                                                                                 Debtors' books and
                                                                                                                                                 records.




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37969688.5 02/05/2021
37969688.6 02/11/2021
Case 19-11466-MFW    Doc 2086-2   Filed 02/11/21   Page 14 of 15




                          Exhibit D



                    Modified Amount Claims
                                                   Case 19-11466-MFW              Doc 2086-2         Filed 02/11/21        Page 15 of 15




                                                                              Modified Amount Claims
                              Debtor                          Filed Claim Amount ($)                                                  Modified Claim Amount ($)
                              against
    Creditor         Claim
                              Whom                                Section                                                      Section                                     Reason for
     Name             No.                   Priority   Secured               Unsecured       Total       Priority   Secured                 Unsecured      Total
                              Claim is                           503(b)(9)                                                    503(b)(9)                                    Modification
                               Filed
                                                                                                                                                                       Claim amount
                             Center City                                                                                                                               reduced to reflect
    Solid Waste
1                     391    Healthcare,       -          -          -       $296,299.30   $296,299.30      -          -          -        $151,051.61   $151,051.61   Debtors' books and
    Services Inc.
                                LLC                                                                                                                                    records.
                             Philadelphia                                                                                                                              Claim amount
                              Academic                                                                                                                                 reduced to reflect
    ThyssenKrupp
2                      5       Health          -          -          -       $342,294.83   $342,294.83      -          -          -        $341,946.93   $341,946.93   Debtors’ books and
    Elevator Corp.
                               System,                                                                                                                                 records.
                                 LLC
